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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                       Case No. 20-22009-Civ-COOKE/GOODMAN

 COOPERATIEVE RABOBANK U.A.,
 NEW YORK BRANCH, et al.,

         Plaintiffs,

 vs.

 EISNERAMPER LLP,

       Defendant.
 ____________________________________/
         ORDER GRANTING UNOPPOSED MOTION TO TRANSFER VENUE

         THIS MATTER comes before the Court on the Defendant’s Motion to Transfer
 Venue to the United States District Court for the Southern District of New York (the
 “Motion”) (ECF No. 6). Plaintiffs do not oppose the Motion, and the Parties have filed a
 stipulation agreeing that this matter shall be transferred to the Southern District of New
 York pursuant to 28 U.S.C. § 1404(a). ECF No. 7. Having reviewed the Motion, the
 stipulation, and the relevant authorities, the Court GRANTS the Motion to Transfer Venue
 to the United States District Court for the Southern District of New York (ECF No. 6). The
 Clerk shall TRANSFER this matter to the Southern District of New York and CLOSE this
 case.
         DONE and ORDERED in chambers, Miami, Florida, this 27th day of May 2020.




 Copies furnished to:
 Jonathan Goodman, U.S. Magistrate Judge
 Counsel of record
